           Case 2:19-cv-04345-CJC-KS Document 1 Filed 05/20/19 Page 1 of 7 Page ID #:1
                                                                                                   CLERK, U.S. DISTRICT



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   PRISON NUMBER (if applicable)                                                       (~
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                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE NiJ1~E~ ~ g ~ O q,                       ~ ~ —~
                                                                           t/                                           C_s.JC~
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                                                     PLAINTIFF,
~'~./~
     Jq p~~
          /~                          `'•                                        CIVIL RIGHTS COMPLAINT
~/ ~—"L~~M"
       '    ~                       ~                   ~                         PURSUANT TO (Check one)
I.~~ A~G          S~~~~r~~ S                             ~ ~42 U.S.C. ~ 1983
                                                  DEFENDANT(S).    ~ Bivens v. Six Unknown Agents 403 U.S. 388(1971)


  A. PREVIOUS LAWSUITS

       1. Have you brought any other lawsuits in a federal court while a prisoner: ~Xes          ❑ No

      2. If your answer to "1." is yes, how many? f

            Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
            attached piece of paper using the same outline.)

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  CV-66 (7/97)                                                                                                            Page 1 of6
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          a. Parties to this previous la suit:
             Plaintiff ]~~lf(P~S ~~i;~J


               Defendants ~~~J~c~~~               ~(~ ~~~~'~ ~V~~ x,U1 ~ •~,~tl`~'~c (P~U~
               ~L /v~'vt~                +t
          b. Court ~~f         ~ ~~           (~- ~~~:~          74C


          c. Docket or case number 2~`~fCN—ffS6~~- ~~G~'~S
          d. Name ofjudge to whom case was assigned ~~~~X~3 !-~ ~~'erl~'rf~~ll
          e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
                         Is it still pending?)
                                 e ~     fi   A
         f.


               ~i1(~'~('c~,
               Approximate date of filing lawsuit:~b /~J~~
         h. Approximate date of disposition


B. EXHAUSTION OF ADMINISTRATNE REMEDIES

     1. Is there a gri vance procedure available at the institution where the events relating to your current complaint
        occurred?      Yes ❑ No

    2. Have you filed a grievance concerning the facts relating to your current complaint?       Yes    ❑ No

         If your answer is no, explain why not




    3. Is the grievance procedure completed? 6~Yes           ❑ No

         If your answer is no, explain why not



    4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION
                                                                              ~n N
    This complaint alleges that the civil rights of plaintiff          MGh~~S 1 VII~Z

    who presently resides at

    were violated by the action^of the defendants) named below, which actions were directed against plaintiff at




                                                    civu.iucfrrs coMrL.~.~vT
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     on (date or dates) ~~" ~~ ° ~~                                                       ,
                                    (C azm I                       (C aun II                          (C aun III

     NOTE:      You need not name more than one defendant or allege more than one claim. If you are naming more than
                five (5) defendants, make a copy of this page to provide the information for additional defendants.

     1. Defendant                                                                                           resides or works at
                    (full name of    st defendant)

                    '~a,~~l~~v r~ ~~~c~~(1962 Te1~~~~ .C,O~ti~c'135gti
                    (
                    ~address
                     full    of first defendant)                     ~~

                       L-ar'~~C.~x~i~~ C.~~nS~}~oC`
                    (defendan['s position and tifle, i~any)


         The defendant is sued in his/her(Check one or both}: ~ individual              ~fficial capacity,

         Explain how this defendant was acting under color oflaw:
         `~~~I~, ~ ~~~~i N~- -fir ~,r' ~~nr~.                          ~sr~rn ~r~,H~ C; Y~ ►r'~ C~ kS-t~'~✓'


    2. Defendant                                                                                            resides or works at
                          name c
                                                                               ~_r~~b
                    (full address of first defendant)


                    (deiend3riYs posltlon 3IIa ride, li 3tly)


         The defendant is sued in his/her(Check one or both): ~ individual              bd official capacity.

         Explain how this defendant was acting unde color of law:

                  ~~                 .~~                   _
    3. Defendant                                                                                            resides or works at
                    (llname of rst defen         t

                           )Ij                             ~l~^   ~             r   f    ~,°~   1
                    (full addres of first defendant)


                    (defendanNs position and title, if any)


         The defendant is sued in his/her(Check one or both): L~J individual            ~l'official capacity.

         Explain how this defendant was acting under color oflaw: ~


        ~1




                                                          crvII.~c~rs co~LAnvT
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    4. Defendant ~~                                                                                 resides or works at
                   (fu name o      rst defer ant

                   ~c~~;~~4 pG.~G t~ ~~,~n~,c(~ad~,~~~ ~3~~1
                   (full address of first defendant)


                   (detenaant's pos~non ana rue, ~r any)


        The defendant is sued in his/her(Check one or both): L~ individual        official capacity.

        Explain how this defendant was acting          der color oflaw:
        ~c~-vi`'~i^~ ~v1PM1 ~ tIVc7LC ilfY~r~GsH4''~~ C.t~~I~C?J 1
                                                                                                 9~~i


    5. Defendant                                                                                    resides or works at
                   (full name of first defendant)

                   1-~ J~~I~ ~NT~ ~'~~2~~~5 ~E~P1~71VI~Z"
                   (full address of first defendant)




        The defendant is sued in his/her(Check one or both): L~! individual     6~ official capacity.

        Explain how this defendant`~as acting under color oflaw:




    lo..~{'~~         Yl~        .J .~ 1'tQ~('S S


                           ~~~~~
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                                                       CIVIL RIGHTS COMPLAINT
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D. CLAIMS*
                                                         CLAIM I
    The following civil right has been violated:
    ~             ~~~~1~
    ~~~~U~~r
    ~              ~~c~~




    Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
    citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
    I~RFRNI~ANT fhv namel c~i~ t~ violate vnur right.




      ~~
              ~     s ~ r,      -~       ~~ ~•


    *Ifthere is more than one claim, describe the additional claims) on another attached piece ofpaper using the same
    outline.


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 E. REQUEST FOR RELIEF

     1believe thatIam entitled to the following specific relief:




     ~~' =s                  ~:                        _ ~'~            ~~a ~              ~ ~ ~SIC     l~~i, ~1r.~~
                                    r, j'
   '~''I~~~~ii                              ~~ :                                       ~   aii,k ~ ~ ~ i~►1V~ 1~          I

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                t                                       ~/         `J              /




        ~r ~~ • ~~                                             p          I"~~




                    (Date)                                                       ignature ofPlaint




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